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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
     Robert Bolan,                                       No. CV17-3321 PHX DGC
 9
                            Plaintiff,
10
11   v.                                                  ORDER

12   Experian Information Solutions, Inc., et al.,

13                          Defendants.

14
15            Pursuant to stipulation of the parties. Doc. 46.
16            IT IS ORDERED that the stipulation (Doc. 46) is granted. Defendants Trans
17   Union, LLC and Experian Information Solutions, Inc. are dismissed with prejudice. Each
18   party shall bear his or its own attorneys’ fees and costs herein.
19            Dated this 16th day of March, 2018.
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